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  13
  14                        UNITED STATES DISTRICT COURT
  15                      CENTRAL DISTRICT OF CALIFORNIA
  16                               WESTERN DIVISION
  17   LISA DOYLE, DERIVATIVELY AND              Case No. 15-CV-07568-SJO (MRWx)
       ON BEHALF OF RESONANT, INC.,
  18
                   Plaintiff,
  19
                   v.                            ORDER STAYING PROCEEDINGS
  20
  21   TERRY LINGREN, JOHN E. MAJOR,
                                                 The Honorable S. James Otero
  22   ROBERT B. HAMMOND, JANET K.
       COOPER, RICK KORNFELD, and
  23   THOMAS R. JOSEPH,
  24                      Defendants,
  25                      and
  26   RESONANT INC.,
  27                      Nominal Defendant.
  28
                                                               [PROPOSED] ORDER STAYING PROCEEDINGS
                                                                  CASE NO. 15-CV-07568-SJO (MRWX)
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   1                                           ORDER
   2         Upon review of the parties’ Stipulation to Stay Proceedings, and for good
   3   cause shown,
   4         IT IS HEREBY ORDERED AS FOLLOWS:
   5         1.     The proceedings in this action (the “Derivative Action”), including
   6   Defendants’ obligation to respond to the Complaint in the Derivative Action, shall
   7   be stayed until any of the following triggering events (the “Triggering Events”): (1)
   8   the entry of an order in Case No. 15-cv-01970-SJO (VBKx), In re Resonant Inc.
   9   Sec. Litig. (the “Securities Class Action”), denying any motions to dismiss filed in
  10   the Securities Class Action; (2) the commencement of discovery in the Securities
  11   Class Action; (3) a joint request by Plaintiff and Defendants to lift the Stay; (4) a
  12   request by Plaintiff to lift the stay in the event a related derivative action is filed and
  13   not stayed after 30 days of its filing; or (5) further order of the Court.
  14         2.     The Defendants in the Derivative Action shall not be required to move,
  15   answer, plead or otherwise respond to the Complaint (or any amended complaint)
  16   during the pendency of the stay.
  17         3.     In the event that Defendants during the pendency of the stay produce
  18   any discovery (defined below) to the plaintiffs in the Securities Class Action, in any
  19   other shareholder derivative action alleging substantially the same facts and claims
  20   as those in the Derivative Action (“New Derivative Action”) or in any action or
  21   demand brought against Resonant pursuant to 8 Del C. §220 to compel inspection
  22   of books and records that are substantially related to the facts and claims at issue in
  23   the Derivative Action (“Books and Records Action”), Defendants shall produce to
  24   Plaintiff in the Derivative Action copies of that discovery in the form and manner in
  25   which such discovery is produced to plaintiffs in the Securities Class Action, the
  26   New Derivative Action or the Books and Records Action, provided that Plaintiff
  27   agrees to enter into and be bound by a protective order or confidentiality agreement
  28   that is substantially similar to any protective order or confidentiality agreement
                                                                       [PROPOSED] ORDER STAYING PROCEEDINGS
                                                  -1-                     CASE NO. 15-CV-07568-SJO (MRWX)
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   1   entered in the Securities Class Action, the New Derivative Action or the Books and
   2   Records Action, and Plaintiff agrees to pay the reasonable costs of printing and
   3   postage incurred in producing the additional copy of the discovery in the event such
   4   discovery was not produced in an electronic format, provided that Plaintiff is not
   5   responsible for the costs of any professional fees and services incurred in producing
   6   the additional copy of such discovery. For purposes of this agreement, “Discovery”
   7   is defined to include all documents produced by Defendants in the Securities Class
   8   Action, New Derivative Action or Books and Records Action; all formal responses
   9   by any of the Defendants to interrogatories, requests for production, or requests for
  10   admission in such action(s); and true and correct copies of all transcripts and
  11   exhibits for any deposition taken of any Defendant, including employees of the
  12   Company, in such action(s).
  13         4.     Within 14 days of the occurrence of any of the Triggering Events, the
  14   parties will meet and confer in good faith to determine the appropriate course for
  15   the Derivative Action, and will promptly thereafter submit a Joint Report to the
  16   Court containing the parties’ proposals regarding scheduling, including a proposed
  17   deadline for Defendants’ responses to the Complaint.
  18         5.     Notwithstanding a stay of this action, Plaintiff is permitted to file an
  19   amended complaint.
  20         ADDITIONALLY, A STATUS CONFERENCE REGARDING THE
  21   STATUS OF THE STAY IS SET FOR HEARING ON MONDAY, APRIL 18,
  22   2016 @ 8:30 A.M. THE PARTIES SHALL FILE A JOINT STATUS
  23   REPORT BY APRIL 4, 2016.
  24         IT IS SO ORDERED.
  25
       DATED: November 16, 2015.
  26                                               HON. S. JAMES OTERO
                                              UNITED STATES DISTRICT JUDGE
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  28
                                                                     [PROPOSED] ORDER STAYING PROCEEDINGS
                                                -2-                     CASE NO. 15-CV-07568-SJO (MRWX)
